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AFFIDAVIT IN SUPPOR'I` OF AN APPLICATION FOR SEARCH WARRANT

l, Task Force Officer Paul T. Geare, being first duly swom, hereby depose and state as

follows:

l. l submit this affidavit in support of an application for a search and seizure warrant
authorizing the Search of the following cellphones, Which are stored in a secure manner at the

Baltimore Field Division of the ATF, located at 31 Hopkins Plaza, Suite 500, Baltirnore, Maryland:

a.

A black and gray ZTE flip phone l\/lodel Z320, FCC ZID: SRQ-Z?)ZO, IMEI:
860550031632725, Serial # 329F744213C6 (Target Telephone 1);

A pink and White l phone Model A1660, FCC ID: BCG-ESOSSA, IC: 579C-

 

E3085A (Target Telephone 2);
A pink and white I phone, Model Al 687, FCC ID: BCG-E2944A, IC: 579C- l
E2944A (Target Telephone 3);

A Samsung Model SM-J727Tl, IMEI: 35]808/09/134707/1, Serial #
J727TlUVUlAQGl ('l`arget telephone 4);

A black LG flip phone, Model: LGB470, Device ID: 35992608214023007,
Serial #:707VTGT214023 (Target Telephone 5);

A White and pink l phone, Model: Al723, FCC ID: BCG~E3042A, IMEI:
3566]3085036374 (Target Telephone 6);

A black Samsung/Verizon cell phone,- Model: SM-B311V, ESN:
12808`241181, Serial # 12808241181 (Target Telephone 7);

A Black ZTE cell phone Model N9560, Serial # 320276864666 (Target
Telephone 8);

White and Silver l phone Model A1688, Serial # 579C-E2946A (Target
Telephone 9); collectively (the “'I`arget Telephones”).

 

 

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2. The applied for search and seizure Warrants would authorize the forensic
examination of the Target Telephones for the purpose of identifying electronically Stored data
listed in Attachments B. The Subject Electronic Devices will be reviewed pursuant to the protocol
described in Attachments C.

3. The Target Telephones have been stored in a manner in which its contents are, to
th_e extent material to this investigation, in substantially the Same condition as when the Target
Telephones first carrie into the possession of law enforcement Any search of the Target
Telephones will occur in an office or,laboratory setting on a premises controlled by ATF or their
authorized representatives

AFFIANT BACKGROUNlj

4, l am a Task Force Officer (“TFO”) with the'Bureau of Alcohol, Tobacco, Firearms,
and Explosives (“ATF”) and l am currently assigned to a joint task force comprised ofATF agents
and detectives from the Baltimore Police Department (“BPD”). l have been employed by the BPD
since November 30, 1998, and have been an ATF TFO since January of 2010. l have participated
in numerous investigations focusing on the trafficking of controlled dangerous substances (CDS),
gang activity, and illegal firearms l have conducted covert surveillance of suspected CDS
traffickers, interviewed numerous individuals involved in gangs and the CDS trafficking trade,
participated in several Title III wiretap investigations as an affiant, monitor and member of
Surveillance teams, participated in the execution of numerous state and federal search and arrest
warrants involving CDS traffickers and violent offenders, and participated in the seizure of
numerous firearms and controlled dangerous substances l have also testified as an expert in the
District Court of Maryland and the Circuit Court for Baltimore City.

5. I am aware that drug traffickers often use several locations to Store narcotics and

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narcotics proceeds In my experience, drug traffickers often use cellular telephones, addresses,
and vehicles subscribed or registered to names other than their own in order to avoid detection by
law enforcement Through my training and experience, I have become familiar with the manner
in Which illegal CDS are transported, stored, and distributed, the methods of payment for such
CDS, and the manner in which CDS traffickers communicate with each other. I also know that
CDS traffickers commonly use cell phones to facilitate the distribution of CDS.

6. Specifically, I know that persons engaged in CDS trafficking use cellular

telephones to coordinate with suppliers, customers, and co-conspirators and frequently switch
phones or utilize multiple cellular telephones to evade law enforcement l am familiar with the
habits, methods, routines, practices and procedures commonly employed by persons engaged in
trafficking CDS. From my training, experience and conversations with other agents and officers,
l am familiar with the techniques employed by CDS traffickers to keep records of their drug
trafficking activities, to conceal proceeds of their illegal conduct, and to evade law enforcement
Based on this specialized experience, and participation in other similar CDS trafficking
investigations, I know that individuals who are involved in the distribution of CDS frequently
share combinations of common characteristics, some of which are as follows:

a. Keeping and storing of documents and records. Persons involved in CDS
trafficking frequently keep and maintain records of their various activities, which can now be kept
and organized on cellular devices. Such documents include, but are not limited to payment logs,
contact information for other traffickers and suppliers, wired money transactions, savings pass
books, bank accounts, various forms of commercial paper, address books, records, receipts, travel
receipts and other papers relating to the ordering, transportation, Sale and distribution of

contraband Records often contain identifying data ofcc-conspirators l also know that traffickers

 

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frequently maintain these records for long periods; sometimes traffickers keep these records years
after a transaction occurred.

b. Additional use of cellular telephones Persons involved in CDS trafficking
frequently utilize cellular telephones to facilitate illegal transactions In investigations such as this,
cellular telephones serve as direct evidence of the criminal conspiracy to distribute contraband A
suspect’s possession of a cellular telephone with a certain call number identified during the
investigation establishes that the suspect uses the cellular telephone and this constitutes evidence
of the suspect’s participation in the conspiracy Cellular telephones may also contain call histories,
stored numbers, contact lists and stored text messages of phones that often leads to the
identification of co-conspirators. I also know that traffickers frequently maintain and use
numerous cellular telephones in an effort to conceal their activities Cellular telephones frequently
contain communications (i.e., by telephone, text message, email, social media, or otherwise) with
customers, suppliers, and co-conspirators. ln addition, traffickers frequently take and keep
photographs of themselves, their associates, their proceeds, and their firearms and narcotics on
their cellular telephones In _a criminal conspiracy investigation such as this, photographs of co-
conspirators together serve as evidence of their association with one another and their participation
in the conspiracy

7. The information set forth in this affidavit derives from my personal knowledge and
observations, discussions with other ATF agents and employees, other law enforcement officers,
and witnesses, and my review of police reports and public records. All conversations and
statements described in this affidavit are related in substance and in part unless otherwise indicated
Because I submit this affidavit for the limited purpose of establishing probable cause for a search

warrant, l have not included every fact known to me concerning this investigation Rather, I have

 

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set forth only those facts that l believe are necessary to establish probable cause. l have not,
however, excluded any information known to me that would defeat a determination of probable
cause.

8. As set forth below, probable cause exists to believe that the above-described
property, as described in Attachment A contains evidence, fruits, and instrumentalities of crimes
against the United States, occurring in the District of Maryland, alleging that the defendants
conspired to, and did possess with intent to distribute a controlled substance, specifically cocaine

base (crack cocaine), a schedule II controlled dangerous,substance, in violation of 21 U.S.C. §§

841, 846.
PROBABLE CAUSE
9. Since in or about December of 2017, the ATF has been investigating a violent

narcotics trafficking organization that operates in the 5300 block of Cordelia Avenue in Baltimore,
Maryland, and the surrounding areas Based on evidence gathered to date, including information
from confidential sources, observations of law enforcement officers, and controlled purchases of
cocaine base, investigators believe that members of the DTO are responsible for trafficking large
quantities of cocaine in Northwest Baltimore City, Maryland. Investigators believe that the street-

level distributors, commonly referred to as “hitters,” include, among others, Javaughn BYRO

t a/k/a/ “Spot”, Travis WILLIAMS a/k/a “Trap”, Cory BARNES a/k/a “Face”, Aqeel El-Amin a/k/a/

“Jonathan”, and Marcellus HALL afk/a/ “6’9.” The above co-conspirators are charged in a Federal
lndictment (Crim. No. CCB-lS-Ol 87).
Target Telephone 1‘ Target Telephone 2 and Target Telephone 3
lO. On January lO, 2018, an undercover ATF TFO (“UC”) was provided with two

hundred dollars in United States currency along with audio/video recording equipment Tlie UC

 

 

 

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went to the 5300 block of Cordelia Avenue to conduct a controlled purchase of “crac ” cocaine
Once in the block, the UC made contact with a male, later identified as Javaughn BYRO. The UC
had a brief narcotics related conversation with BYRO and provided him with the two hundred
dollars of US currency in exchange for twenty zip lock bags of “crack” cocaine. During this
conversation, BYRO provided the UC With his cellular number of 443-754-9979, which is the
telephone number for Target Telephone l and advised his nickname was “Spot.”

ll. On January 14, 2018, at approximately 15:35 hours, members of BPD were in the
area of 5300 Cordelia Avenue, Baltimore, Maryland when they encountered an individual
suspected of selling illegal narcotics, later identified as Javaughn BYRO. BPD observed BYRO
engaging in what appeared to be a CDS transaction BYRO looked at the officers who were in
their marked police vehicle and BYRO ran through a yard into the rear alley. Officers caught up
with BYRO and observed him digging in his right pocket. Officers placed BYRO in handcuffs
and retrieved from BYRO a Maryland ldentification Card. Officers also recovered from BYRO,
twenty-four red zip lock bags containing a tan powder substance, suspected heroin, that BYRO
swallowed and vomited, and four purple zip lock bags containing a white rock substance,
suspected crack/cocaine Officers also recovered Target Telephone 1, 'I`arget Telephone 2 and
Target Telephone 3 from BYRO with an amount of United States Currency.

12. After BYRO’s arrest, investigators placed a call to 443-754-9979 and noticed that
Target Telephone 1 began to ring verifying that it was in fact the cellular phone that BYRO
instructed the UC to call during the previously mentioned UC buy on January 10, 2018.
Furtherrnore, your affiant knows through training and experience that narcotics traffickers
commonly carry numerous cellular devices in order to evade detection from law enforcement and

your affiant believes that BYRO was utilizing Target Telephone 1, Target Telephone 2 and

 

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Target Telephone 3 to communicate with other narcotics traffickers as well as his customers
Target Telephone 4

13. On February 13, 2018, an ATF UC attempted to purchase crack cocaine from Travis
WILLIAMS. WILLIAMS advised the UC that he was not available but that his brother would
come conduct the transaction in his place. A short time later, Corey BARNES arrived and met
with the UC. During this meeting, BARNES advised the UC that he could contact him on cellular
telephone number 443-522-3688 (the number for Target Telephone 4) to set up future purchases
BARNES and the UC agreed on an amount of crack cocaine to be purchased and BARNES exited
the vehicle, returned shortly and exchanged an amount of crack cocaine with the UC for three
hundred dollars of U.S. currency.

14. On February 21, 2018, an ATF UC conducted another controlled purchase of
suspected crack cocaine from the DTO. The UC was provided with an audio/video recording
device and supplied with Five-hundred dollars in Agent Cashier Funds to conduct the purchase.
At approximately 12:54 p.m., the UC contacted BARNES on Target Telephone 4 and discussed
the purchase of cocaine base. BARNES agreed to meet the UC at the CVS parking lot located at
5501 Park Heights Avenue in Baltimore, Maryland and the call was terminated While the UC was
at the CVS parking lot, the UC did not realize that BARNES had attempted to contact her/him
from Target Telephone 4. BARNES then sent the UC a text message from Target Telephone 4
that read “l ain’t do shyt but treat you right and good business with you and you do some b*** ass
s*** like not pick up the phone after l go and get all these f“‘***** drugs don’t let me see you
again”. This was followed by a second text that read “Them other motherfuckers working you over
and selling you dimes for twenties and I’m actually going to bring you the proper amount of s***

and you don’t pick up”. The UC then sent BARNES a text message advising that his ringer was

 

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off and spoke to BARNES at Target Telephone 4 again to discuss a new location for the narcotics
transaction BARNES suggested Paton and Park Heights Avenues in Baltimore, Maryland. The
UC responded to that location and BARNES entered the UC vehicle. The UC and BARNES had
a narcotics related discussion and BARNES provided the UC with thirteen zip lock bags that each
contained crack cocaine in exchange for four-hundred and sixty dollars ofATF agent cashier funds.
The UC and BARNES conversed briefly before BARNES exited the UC vehicle and left the area.

15. On April 5, 2018, a federal search and seizure warrant was executed at 1809
Penrose Avenue Baltimore, Maryland, and during the execution of the search warrant BARNES
was arrested pursuant to a federal arrest warrant. Target Telephone 4 was recovered from the
residence along with documents in the name of Corey BARNES. Based on the above-described
controlled purchases, I believe BARNES utilized Target Telephone 4 in furtherance of drug
trafficking

Target Telephone 5

16. On January 25, 2018, an ATF UC purchased “crack” cocaine from Travis
WILLIAMS in the 5200 block of Cordelia Avenue Baltimore, Maryland. During this purchase,
the UC asked WILLIAMS if there was someone else the UC could contact to obtain narcotics if
WILLIAMS was not available WILLIAMS then summonsed a male later identified as Aqeel EL-
AMIN over to the UC vehicle. EL-AMIN identified himself as ‘Jonathan” and provided cellular
number 410-949-4350 to the UC as a number for the UC to contact to obtain narcotics in the future.

17. On February 1, 2018, an ATF UC contacted EL-AMIN at cellular number 410-949-
4350 and EL-AMIN agreed to meet the UC. EL-AMIN advised the UC to meet him on the 5200
block of Wilton Heights, Baltimore City, Maryland. The UC met with EL-AMIN and purchased

seven zip lock baggies of cocaine base in exchange for three-hundred and fifty dollars.

 

 

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18. On April 5, 2018, EL-AMIN was arrested pursuant to a federal arrest warrant in the
5200 block of St. Charles, Baltimore, Maryl.and. incident to that arrest, investigators recovered
Target Telephone 5 from EL-AMIN. Your affiant does not believe that Target Telephone 5 is
the same device that EL-AMIN used to communicate with the UC on during the previous UC
interactions; however, your affiant knows that EL-AMI'N uses cellular devices to conduct narcotics
transactions and knows that narcotics traffickers frequently change devices and cellular numbers
to evade detection from law enforcement

Target Telephone 6 and Target Telephone 7
19. On January 18, 2018, the ATF UC conducted a purchase of cocaine base from
WILLIAMS. Durin g this transaction WlLLIAMS provided the UC with cellular number 443-208-
1380, the number for Target Telephone 6, as a number the UC could contact for future purchases
of crack.

20. On February 13, 2018, at approximately 13:22 hours, TFO Faller acting as a UC
called 'I`arget Telephone 6. During this conversation arrangements were made to meet at the CVS
parking lot in Baltimore, Maryland, to facilitate a narcotics transaction WILLIAMS and TFO
Faller also discussed the present whereabouts of each other. At approximately 13:33 hours, TFO
Faller again called Target Telephone 6 and spoke with WILLIAMS. During this phone call,
WILLIAMS informed TFO Faller that his “brother” would be coming to the location of the CVS
to complete the transaction At approximately 13:45 hours, a black male, same dressed in a black
Sweatshirt, faded blue jeans, and a knit cap, arrived and entered TFO Faller’s vehicle on the
passenger side. Through speaking With other law enforcement officers and utilizing law
enforcement databases, investigators identified this individual as Cory BARNES. A short

conversation took place as BARNES and TF 0 Faller discussed the narcotics transaction BARNES

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then told TFO Faller he would have to go somewhere to retrieve the narcotics BARNES then
informed TFO Faller that he went by the name of “FACE,” and that TFO Faller could call him on
phone number 443-522-3 688, (BARNES then provided the UC the number for Target Telephone
4 as mentioned above). '

2]. At approximately 14:02 hours, BARNES again arrived in the parking lot of CVS.
First, BARNES asked TFO Faller if he were law enforcement This is common practice amongst
narcotics traffickers, as they are often under the assumption that a law enforcement officer must _
identify himself or herself if they are questioned With that, BARNES produced a plastic baggie
containing crack cocaine. Negotiations were made concerning the price of this item. TFO Faller
then called Target Telephone 6 and spoke with WILLIAMS. WILLIAMS went on to explain that
if TFO Faller “broke down” the quantity of narcotics presented it would equal the amount of $350.
TPO Faller then further negotiated, and gave BARNES $300 of the ATF agent cashier funds In
exchange, BARNES handed TF 0 Faller the above-mentioned item. The item was then placed into
a compartment within the vehicle. Finally, TFO Faller and BARNES discussed that they had
interacted on a previous occasion when a narcotics transaction was made with WILLIAMS.
BARNES then left the vehicle, and TFO Faller left the area.

22. On April 5, 2018, an ATF UC contacted Travis WILLIAMS on Target Telephone
6 to arrange a narcotics transaction During said conversations WILLlAMS and the UC came to
an agreement to meet at 5501 Park Heights Avenue. WILLIAMS arrived at the location and, upon
arrival, was'arrested pursuant to a federal arrest warrant Following his arrest, Target Telephone
6 was recovered from WILLIAMS’ person and 'I`arget Telephone 7 was recovered from the front
seat of the vehicle that WILLIAMS arrived in.

23. The driver of the vehicle stated that he was a “hack,” a street term for an illegal taxi

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in Baltimore City and advised that Target Telephone 7 Was not his and that WILLIAMS must
have brought it in the vehicle upon being picked up. As described above, your affiant knows that
narcotics traffickers commonly carry numerous phones and utilize numerous phones to conduct
narcotics transactions to avoid police detection and believes that WILLIAMS was utilizing both

Target Telephone 6 and Target Telephone 7 to conduct his illegal narcotics activities

Target Telephone 8

24. On January 18, 2018, an ATF UC met with Marcellus HALL in the 5300 block of
Cordelia Avenue, Baltimore, Maryland HALL directed the UC to respond to the area of Clover
Road and Park Heights and HALL stated that when the UC arrived there, he would see the same
guys that he was used to seeing on the 5300 block of Cordelia. The UC responded to the area of
Park Heights and Clover and met with Travis WILLIAMS Who ultimately sold the UC 15 pink zip
lock bags of crack cocaine for $350.

25. On March 27, 2018, the UC met with HALL in the area of Edgemere Avenue and
Oakmont Avenue, Baltimore, Maryland. The UC had a conversation with HALL and asked HALL
for Jonathan’s (El-AMIN’s) phone number. HALL advised that EL-AMIN usually calls him in the
morning so he should have his number in his phone, but after looking for the number, HALL was
unable to locate it. The UC then asked HALL what was up with the block, referring to the fact that
the narcotics traffickers were no longer on Cordelia. HALL advised the UC that the “FBI, DEA,
and FTA”V were on the block and that “they started wasting people.” HALL and the UC then had a
conversation about several individuals selling narcotics in the area and HALL and advised that the
individuals from the drug shop kept switching their phone numbers because they thought their
phones were tapped. HALL attempted to contact his co-conspirators to facilitate a narcotics

transaction for the UC but was ultimately unsuccessful However, HALL did provide the UC with

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the telephone number to Target Telephone 8 as a way for the UC to contact him for future
narcotics transactions

26. On April 5, 2018, the UC called HALL on Target Telephone 8 and set up a
location to meet HALL. HALL was observed at 3718 W. Belvedere, Baltimore, Maryland and
arrested pursuant to a federal arrest warrantl Upon being arrested, HALL was in possession of

Target Telephone 8 and one yellow zip lock bag of suspected heroin

Target Telephone 9

27.- On April 10, 2018, Javaughn BYRO was arrested pursuant to the outstanding
federal arrest warrant for his part in the conspiracy to distribute crack cocaine in the 53 00 block of
Cordelia Avenue, Baltimore, Maryland. Upon being arrested BYRO was in possession of Target
Telephone 9. Although this is not the cellular device that the UC was advised to contact BYRO
on during the earlier controlled purchase, your affiant knows that BYRO utilizes cellular devices
to conduct narcotics transactions and believes that after being arrested and having three other
cellular phones seized, BYRO was using Target Telephone 9 to conduct narcotics transactions

28. l know based on my training and experience, that dwg traffickers use cellular
telephones to coordinate with suppliers, customers, and co-conspirators and frequently switch
phones or utilize multiple cellular telephones to evade law enforcement Based on the firearrns-
related and drug-trafficking evidence recovered, as well as the violent nature of the aforementioned
actions, I believe that the Target Telephones will contain evidence of, and conspiracy to commit,
drug trafficking and possession of a firearm in furtherance of drug trafficking

CONCLUSION
29. Based on the information set forth in this affidavit, l believe probable cause exists

to believe that in the Target Telephones, there is evidence, fruits, and instrumentalities of the

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crimes of Conspiracy to Distribute a Controlled Dangerous Substance, in violation of 21 U.S.C.
§ 846, Possession with intent to Distribute a Controlled Dangerous Substance and in violation of
21 U.S.C. § 841,

30. l respectfully request that this Court issue a search Warrant for the Target
Telephones and authorize the search and the seizure of the items described in Attachments A and
B, according to the protocols set forth in Attachments C, where applicable, which constitute fruits,

evidence and instrumentalities of violations of21 U.S.C. § 846 and 21 U.S.C. § 841.

Respectfully submitted,

Task Force Officer Paul T. Geare

Bureau of Alcohol, Tobacco, Firearms and
Explosives

d_,_
Sworn to before me this )(i day of{ 53 h , 2018

 

   

Hon. Stephani'e/A. Gallagher w'
United States Magistrate Judge

 

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ATTACHMENT A
Items to be Searched

The following cellphones, which are stored in a secure manner at the Baltimore Field Division of

the ATF, located at 31 Hopkins Plaza, Suite 500, Baltimore, Maryland:

a. A black and gray ZTE flip phone Model 2320, FCC ZID: SRQ-Z320,
IMEl‘. 860550031632725, Serial # 329F744213C6(Target Telephone 1);

b. A pink and white l phone Model A1660, FCC ID: BCG-ESOSSA, IC:
579C-E3085A(Target Telephone 2);

c. A pink and white l phone, Model A1687, FCC ID: BCG-E2944A, IC:
579C-E2944A (Target Telephone 3);

d A Samsung Model SM-J727T1, IMEI: 351808/09/134707/1, Serial #
J727T1UVU1AQG1 (Target telephone 4)

e. A black LG flip phone, Model: LGB470, Device ID:
35992608214023007, Serial #:707VTGT214023 (Target Telephone 5);

f. A White and pink l phone, Model: A1723, FCC ID: BCG-E3042A, lMEl:
356613085036374 (Target Telephone 6);

g. A black Samsunngerizon cell phone, Model: SM-B311V, ESN:
12808241181, Serial # 12808241181 (Target Telephone 7);

h. A Black ZTE cell phone Model N9560, Serial # 320276864666 (Target
Telephone 8);

i. White and Silver l phone Model Al 688, Serial # 579C-E2946A (Target
Telephone 9); collectively “Target Telephones.”

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ATTACHMENT B

Evidence to Be Seized

This Warrant authorizes the search and seizure of all records contained within the electronic
devices described in Attachment A that relate to violations of 21 U.S.C. §§ 841, 846 by Travis
WILLIAMS, Marcellus HALL, Aqeel EL-AMIN, Corey BARNES, and Javaughn BYRO, and
their known and unknown co-conspirators, including, but not limited to:

 

images;

videos;

records of incoming and outgoing voice communications‘,

records of incoming and outgoing text messages;

the content of incoming and outgoing text messages;

voicemails;

e-mails;

voice recordings;

contact lists;

data from third-party applications (including social media applications like

Facebook and Instagram and messaging programs like WhatsApp and Snapchat);

k. location data;

l. browser history;

rn. bank records, checks, credit card bills, account information and other financial
records; 7

n. evidence of user attribution showing who used or owned the Subject Device at the

time the things described in this warrant were created, edited, or deleted, such as

logs, phonebooks, saved usemames and passwords, documents, and browsing

history_

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As used above, the term “records” includes all of the foregoing items of evidence in
whatever form and by whatever means they may have been created or stored, including any form
of computer or electronic storage (such as flash memory or other media that can store data) and
any photographic form.

 

The Target Telephones shall also be searched for evidence of user attribution showing
who used or owned the Target Telephones at the time the things described in this warrant were
created, edited, or deleted, such as logs, phonebooks, saved usernames and passwords, documents,

and browsing histories

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ATTACHMENT C

Search Protocols

1. This warrant authorizes the search of electronically stored information and other
documents related to the items listed on Attachment B.
2. Because of the possibility that the files examined pursuant to the warrant will

include information that is beyond the scope of what the United States has demonstrated the
existence probable cause to search for, the search shall be conducted in a manner that will minimize
to the greatest extent possible the likelihood that files or other information for which there is not
probable cause to search is not viewed

3. While this protocol does not prescribe the specific search protocol to be used, it
does contain limitations to what government investigators may view during their search, and the
searching investigators shall be obligated to document the search methodology used in the event
that there is a subsequent challenge to the search that was conducted, pursuant to the following
_protocol: With respect to the search of any digitally/electronically stored information that is seized
pursuant to this warrant, and described in Attachment B hereto, the search procedure shall include
such reasonably available techniques designed to minimize the chance that the government
investigators conducting the search will view information that is beyond the scope for which
probable cause exists

4. The following list of techniques is a non-exclusive list which illustrates the types
of search methodology that may avoid an overbroad search, and the government may use other
procedures that, like those listed below, minimize the review of information not within the list of
items to be seized as set forth herein:

a) Use of computer search methodology to conduct an examination of all the data
contained in such computer hardware, computer software, and/or memory
storage devices to determine whether that data falls within the items to be seized
as set forth herein by specific date ranges, names of individuals, or
organizations;

b) Searching for and attempting to recover any deleted, hidden or encrypted data
to determine whether that data falls within the list of items to be seized as set
forth herein;

c) Physical examination of the storage device, including digitally surveying
various file directories and the individual files they contain to determine
whether they include data falling within the list of items to be seized as Set forth
herein; and

d) Opening or reading portions of files that are identified as a result of conducting
digital search inquiries in order to determine their relevance

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